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               EXHIBIT 1
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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District of New York
                  United States of America                                 )
                             v.                                            )
                      Ghislaine Maxwell
                                                                           )        Case No. 20CR330 (AJN)
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Annie Farmer c/o Boies Schiller & Flexner, LLP

                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
                                                      See Attachment A


Place: Jeffrey S. Pagliuca                                                          Date and Time: 04/01/2021 1:00 pm
         Haddon, Morgan & Foreman, P.C.
         150 E. 10th Avenue, Denver, CO 80203

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)      Ghislaine Maxwell
                                                                                      , who requests this subpoena, are:
 Jeffrey S. Pagliuca, Haddon, Morgan & Foreman P.C., 150 East 10th Ave., Denver, Colorado 30203, 303.831.7364,
 jpagliuca@hmflaw.com

                                 Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
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AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
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                                   ATTACHMENT A

                                        DEFINITIONS

1. “You” or “Your” means Annie Farmer.

2. “Journal” means the spiral notebook depicted in Exhibit A to this Attachment A.

3. “Black Boots” means the footwear depicted in Exhibit B to this Attachment A.

4. “Photographs” means the original developed film photographs, any negatives reflecting these
   photographs, and any digital images of those photographs, all produced in the Annie Farmer
   v. Darren Indyke, et. al., Case No. 19-cv-10475-LGS (S.D.N.Y) depicted in Exhibit C to this
   Attachment A as AFARMER 10470, 11339, 11688-11694, 12106-12107, 537-558.

5. “Contingent Fee Agreement or Engagement Agreement” means any writing describing the
   terms that You agreed to receive legal services as required by New York Rule of Professional
   Conduct 1.15 and 22 N.Y.C.R.R. Part 1215.

6. “EVCP Material” refers to any submission to the Epstein Victim’s Compensation Program
   made by You, any releases signed by You and/or the Epstein Victim’s Compensation
   Program, and any compensation received by You. The EVCP is described in Exhibit D to
   this Attachment A.

                                           INSTRUCTIONS

1. Production of documents and items requested herein shall be made no later than April 1,
   2021, at 1:00 p.m. Except for the originals of the “Journal”, “Black Boots” and
   “Photographs,” you may provide the records electronically by that date and time to Jeffrey S.
   Pagliuca or by such other method as agreed upon with counsel for the subpoenaing party.

2. This Request calls for the production of all responsive Documents in Your possession,
   custody or control without regard to the physical location of such documents.

3. If any Document was in your possession or control, but is no longer, state what disposition
   was made of said Document, the reason for the disposition, and the date of such disposition.

4. In producing Documents, if the original of any Document cannot be located, a copy shall be
   produced in lieu thereof, and shall be legible and bound or stapled in the same manner as the
   original.

5. Any copy of a Document that is not identical shall be considered a separate document.

6. All Documents shall be produced in the same order as they are kept or maintained by You in
   the ordinary course of business.

7. Responsive electronically stored information (ESI) shall be produced in its native form; that
   is, in the form in which the information was customarily created, used and stored by the
   native application employed by the producing party in the ordinary course of business.
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8. Defendant does not seek and does not require the production of multiple copies of identical
   Documents.

9. Unless otherwise specified, the time frame of this request is from 1994 to present.

10. This Request is deemed to be continuing. If, after producing these Documents, you obtain or
    become aware of any further information, Documents, things, or information responsive to
    this Request, you are required to so state by supplementing your responses and producing
    such additional Documents to Defendant.

                         DOCUMENTS OR THINGS TO BE PRODUCED

1. Any Contingent Fee Agreement or Engagement Agreement between You and any attorney
   related to or concerning Your allegations against Jeffrey Epstein or Ghislaine Maxwell.

2. The original, complete Journal for inspection and copying.

3. The Black Boots for inspection.

4. The Photographs for inspection and copying.

5. “EVCP Material” for inspection and copying.
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